      Case 1:25-cv-00381-ABJ     Document 33   Filed 02/25/25   Page 1 of 17




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY
EMPLOYEES UNION, et al.
          Plaintiffs,

             v.                                  Civil Action No. 25-cv-381-ABJ

RUSSELL VOUGHT, in his official capacity
as Acting Director of the Consumer
Financial Protection Bureau, et al.
               Defendants.




               AMICUS BRIEF OF TZEDEK DC IN SUPPORT OF
           PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
        Case 1:25-cv-00381-ABJ         Document 33        Filed 02/25/25      Page 2 of 17




                                CERTIFICATE OF COMPLIANCE


        I hereby certify that this brief complies with all the applicable requirements of LCvR

7(o), including all formatting requirements set forth in these rules. Specifically, the undersigned

certifies that:


The brief complies with the applicable page limit set forth in LCvR 7(o).


        It contains 12 pages.


I acknowledge that my brief may be stricken if it fails to comply with any of the applicable

requirements.




                                                      /s/ Noah Brozinsky

                                                      Counsel for Amicus Curiae Tzedek DC




                                                 ii
       Case 1:25-cv-00381-ABJ         Document 33        Filed 02/25/25         Page 3 of 17




                      AMICUS CURAE’S 29(a)(4)(E) STATEMENT

(i)       No party’s counsel authored this brief, either in whole or in part.

(ii)      No party or party’s counsel contributed money that was intended to fund preparing or

          submitting this brief.

(iii)     No person other than the amicus curiae, its members, or its counsel contributed

          money that was intended to fund preparing or submitting this brief.



                                                     /s/ Noah Brozinsky

                                                     Counsel for Amicus Curiae Tzedek DC




                                               iii
          Case 1:25-cv-00381-ABJ                       Document 33                Filed 02/25/25              Page 4 of 17




                                                  TABLE OF CONTENTS

AMICUS CURIAE’S STATEMENT OF INTEREST ....................................................................1

ARGUMENT ...................................................................................................................................2

   I.     The CFPB Bolsters Tzedek DC’s Ability to Ensure DC Residents Obtain Legal
          Protection in Consumer-Related Cases .................................................................... 2

                A. The CFPB Bolsters Tzedek DC’s Ability to Directly Represent Clients ................2

                B. The CFPB’s Complaint Database Helps Tzedek DC and the Public Determine
                   Whether Unfair Practices Are Widespread or Outliers ..................................... 4

                C. The CFPB’s Work Strengthens Credit Reporting Outcomes for Tzedek DC’s
                   Clients and Client Community.................................................................................5

  II.     CFPB Research and Rulemaking Support Tzedek DC Clients ..................................... 7

III.      CFPB Resources and Materials Support Tzedek DC Clients and Community Members .. 9

                A. Tzedek DC’s Use of CFPB Trainings and Materials Supports the Public Interest . 9

                B. Without the CFPB’s Tailored Materials, Tzedek DC’s Ability to Support
                   Underserved Communities Will be Harmed ................................................. 10

                C. The CFPB Allows Tzedek DC to Offer Information to Residents Ineligible for
                   Tzedek DC Legal Assistance..................................................................... 10

CONCLUSION ..............................................................................................................................12




                                                                     iv
      Case 1:25-cv-00381-ABJ     Document 33     Filed 02/25/25   Page 5 of 17




                             TABLE OF AUTHORITIES

Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290 (D.C. Cir. 2006)………………..1




                                          v
       Case 1:25-cv-00381-ABJ          Document 33        Filed 02/25/25      Page 6 of 17




                     AMICUS CURIAE’S STATEMENT OF INTEREST

       Amicus curiae Tzedek DC is a non-profit, 501(c)(3) public interest center headquartered

at the University of the District of Columbia David A. Clarke School of Law. Tzedek DC’s mission

is to safeguard the legal rights and financial health of DC residents with lower incomes dealing

with the often-devastating consequences of abusive debt collection practices and other consumer

related issues. Tzedek DC’s strategic approach combines (i) free, direct services, including legal

services for consumer-related issues and financial counseling, including its Medical Debt,

Disabilities Community, Returning Citizens, and Economic Exploitation and Fraud Prevention

projects; (ii) systemic change through coalition advocacy; and (iii) bilingual community education

and outreach on debt collection, identity theft, and credit management, to support low- and

moderate-income DC residents. 92% of Tzedek DC’s clients are persons of color, over 60% are

women, and 23% have a disability. Direct services are generally limited to DC residents with

income less than 400% of the federal poverty level.

       Tzedek DC submits this brief to highlight how the public interest decisively supports the

grant of a preliminary injunction. Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290,

297 (D.C. Cir. 2006). Tzedek DC has a substantial interest in this case because the unconstitutional

and illegal closure, work stoppages, and discharges at the Consumer Financial Protection Bureau

(CFPB) will result in a negative impact on Tzedek DC’s work and clients and the community that

we serve, in three main areas. First, the CFPB’s work bolsters Tzedek DC’s ability to ensure low-

and moderate-income DC residents can obtain legal protection in debt-related cases. Second,

CFPB research and rulemakings support Tzedek DC clients and the lower and moderate income

community Tzedek DC services. Third, CFPB’s public-facing resources and materials benefit

Tzedek DC clients and the public. The dismantling of the CFPB would end all of this and harm



                                                 1
        Case 1:25-cv-00381-ABJ         Document 33        Filed 02/25/25      Page 7 of 17




Tzedek DC, the client community it serves, and the public interest the organization seeks to

advance.

                                          ARGUMENT

I.      The CFPB Bolsters Tzedek DC’s Ability to Ensure DC Residents Obtain Legal
        Protection in Consumer-Related Cases.

        A.      The CFPB Bolsters Tzedek DC’s Ability to Directly Represent Clients.

        The CFPB’s work has assisted Tzedek DC in its direct client representation. Four examples

illustrate the point.

        First, Tzedek DC has represented multiple clients after Comerica Bank refused to reverse

unauthorized charges on their Direct Express cards—cards used by over 3 million people to receive

payments for Social Security benefits, veteran pensions, and disability benefits. In one case, an 87-

year-old disabled client whose only source of income was Social Security came to Tzedek DC for

help disputing charges for alleged online purchases taken out of her Social Security payment. She

did not in fact know how to use a computer. Tzedek DC attempted to contact Comerica Bank and

was on hold for at least an hour each of the roughly five times they called. To make matters worse,

the client relied on a prepaid phone, so each call required the client to spend limited resources.

When they could get someone on the line, the agent would sometimes hang up upon learning that

an attorney was on the call. After over a month of disputing the fraudulent claims with Comerica,

it became too expensive for the client to continue to call on her prepaid phone, so she stopped

disputing the final fraudulent charge and assumed liability for the loss. That is why the CFPB—

just two months ago—sued Comerica Bank for conduct that includes deliberately disconnecting

24 million customer service calls and mishandling fraud complaints, specifically providing the




                                                 2
       Case 1:25-cv-00381-ABJ          Document 33       Filed 02/25/25      Page 8 of 17




support that Tzedek DC was unable to. 1 Work on that case is now halted by the shutdown at issue

in this case.

        Second, Tzedek DC has represented clients whose former universities withheld their

academic transcripts because the clients had outstanding student loans. Tzedek DC was able to

point to the CFPB’s announcements that this response was an abusive trade practice to argue that

the universities should release the transcripts. 2 The universities relented, freeing Tzedek DC’s

clients from a Catch-22 in which they could not access their transcripts to obtain employment or

education because they could not pay off their loan balances, and they could not pay off their loan

balances because they could not obtain their transcripts to access employment or education.

        Third, another client disputed fraudulent charges on his prepaid card by phone. His dispute

was denied days later. Tzedek DC sent a demand letter on his behalf and follow-up seeking a re-

investigation but received no response, even though the company was made aware that the identity

thief had been criminally charged with stealing his identity. Tzedek DC then assisted this client

with submitting a CFPB complaint. One day later, the company sent the client a letter stating that

it completed the investigation of his claim, and the money was credited back to his account.

        Fourth, a 58-year-old disabled woman whose only income is Social Security contacted

what she believed to be a call center for Cash App for assistance with a charge. The call center

asked her to use “QuickSupport” to screenshare her phone’s screen. In doing so, the individuals



1 Press Release, Consumer Financial Protection Bureau, CFPB Sues Comerica Bank for
Systematically      Failing   Disabled     and    Older    Americans    (Dec.    6,    2024),
https://www.consumerfinance.gov/about-us/newsroom/cfpb-sues-comerica-bank-for-
systematically-failing-disabled-and-older-americans/.
2 Consumer Financial Protection Bureau, Supervisory Highlights Student Loan Servicing Special

Edition at 8-9 (Sept. 2022), https://files.consumerfinance.gov/f/documents/cfpb_student-loan-
servicing-supervisory-highlights-special-edition_report_2022-09.pdf;  Consumer      Financial
Protection Bureau, Tuition Payment Plans in Higher Education at 27-28,
https://files.consumerfinance.gov/f/documents/cfpb_tuition_payment_plan_report_2023-09.pdf.
                                                 3
       Case 1:25-cv-00381-ABJ          Document 33       Filed 02/25/25      Page 9 of 17




accessed her account and debit card information. The call center was a scam. In fact, at the time,

Cash App did not have a call center. The scammers then used the client’s account to send many

unauthorized payments to an unknown individual. She immediately contacted her bank and Cash

App to report the problem. After having no success resolving the issue with Cash App, Tzedek DC

presented the evidence to contacts at her bank to help her receive a refund. Ultimately, based on

many similar fact patterns and the CFPB’s investigation and enforcement matter, the CFPB

ordered Cash App to refund consumers, fix its customer service, and investigate disputes.3

       B.      The CFPB’s Complaint Database Helps Tzedek DC and the Public
               Determine Whether Unfair Practices Are Widespread or Outliers.

       The CFPB’s national scope helps Tzedek DC in its direct services client work by providing

information that it, as a small, locally focused organization, would likely otherwise not have. The

agency’s complaint database, which it has helpfully trained Tzedek DC staff to use, has allowed

Tzedek DC staff to research whether entities that clients have accused of being bad actors have

been accused of similar wrongs before. In one such instance, Tzedek DC discovered that auto

dealers had entered numerous consumers into lending agreements with Credit Acceptance

Corporation (CAC) on predatory terms after telling those consumers that they could “buy” cars

and obtain financing afterward. Tzedek DC relied on that complaint database information to

support its client advocacy, leading to CAC agreeing to cancel the client’s contract and provide a

refund. The CFPB subsequently sued CAC for similar actions.4




3 Press, Consumer Financial Protection Bureau, CFPB Orders Operator of Cash App to Pay $175

Million and Fix Its Failures on Fraud (Jan. 16, 2025), https://www.consumerfinance.gov/about-
us/newsroom/cfpb-orders-operator-of-cash-app-to-pay-175-million-and-fix-its-failures-on-fraud/.
4 Consumer Financial Protection Bureau, “CFPB and New York Attorney General Sue Credit

Acceptance for Hiding Auto Loan Costs, Setting Borrowers Up to Fail,” (Jan. 4, 2023),
https://www.consumerfinance.gov/about-us/newsroom/cfpb-and-new-york-attorney-general-sue-
credit-acceptance-for-hiding-auto-loan-costs-setting-borrowers-up-to-fail/.
                                                4
      Case 1:25-cv-00381-ABJ           Document 33        Filed 02/25/25      Page 10 of 17




       C.      The CFPB’s Work Strengthens Credit Reporting Outcomes for Tzedek DC’s
               Clients and Client Community.

       The CFPB helps Tzedek DC address one of its clients’ most significant challenges: the

inability to navigate credit reporting. DC residents frequently borrow money on bad terms because

they do not understand credit scores, credit reports, or how to dispute inaccurately reported account

information. Before engaging with Tzedek DC, DC residents also frequently cannot access their

credit reports because they do not know where to look or because consumer reporting agencies

(“CRAs”) have collected incorrect identifying information about them.

       The CFPB helps DC residents locate their credit reports by providing a list of CRAs,

including specialty CRAs that provide information for tenant screening, employment screening,

and other focused purposes. 5 This allows community members to find and address problems on

credit reports that might harm their credit generally or deprive them of something specific like a

job or an apartment. It also lets consumers comprehensively search for the improper use of their

identities when they fear that they have been victims of identity theft.

       Tzedek DC consistently encounters clients who cannot access their credit reports in a

timely manner because the CRAs possess incorrect information about them. The CRAs are so often

unresponsive to this issue that Tzedek DC regularly refers those clients to the CFPB, which

enforces the Fair Credit Reporting Act (FCRA) and investigates improper credit reporting.

       Without the CFPB to fill this role, Tzedek DC’s clients would often be unable to obtain

their credit reports and left unsure of whether they are being offered loans with terms accurately

corresponding to their borrowing histories. Indeed, in one case, a client experienced issues

accessing credit reports through Equifax and AnnualCreditReport.com, receiving a message with


5 Consumer Financial Protection Bureau, List of consumer reporting companies, (last visited Feb.

20, 2025) https://www.consumerfinance.gov/consumer-tools/credit-reports-and-scores/consumer-
reporting-companies/companies-list/.
                                                 5
      Case 1:25-cv-00381-ABJ          Document 33       Filed 02/25/25     Page 11 of 17




spelling errors, no phone number (“XXX-XXX-XXXX”), and noting hours of operation from

“HOOP, DOOP.”6 This error prevented Tzedek DC’s client from accessing her free credit report

to which she was entitled by law. Tzedek DC was then able to alert the CFPB of this concerning

situation for further investigation.7 As a result of complaints like this one, the CFPB found that

“Equifax failed in its basic duty to investigate and resolve consumer disputes about inaccurate

information on their credit reports,” and ordered Equifax to comply with federal law and pay a

penalty to a victims relief fund.8

       The CFPB ameliorates Tzedek DC’s clients’ unfamiliarity with the details of credit

reporting by publishing easily accessible educational materials that Tzedek DC provides to clients

and to the public generally. These materials allow Tzedek DC’s client community to understand

how credit reporting works and understand how to improve credit scores to ultimately save money

when accessing more affordable financial products. This public benefit makes a particular

difference for Black and Hispanic consumers, who, statistically, are more likely to report credit

disputes, with individuals in majority-Black communities more than twice as likely to report such

errors.9 With the CFPB’s support, Tzedek DC has been able to help Hispanic clients with mixed

up credit files. This is a particularly common issue for Latino community members who share



6     Tzedek      DC      (@TzedekDC),         X      (June     23,   2022,   2:28      PM),
https://x.com/TzedekDC/status/1540038980737056770.
7 Comment from Tzedek DC on Requests for FCRA Rulemaking: Debt Collector Furnishing,

Language Access, Credit Reporting Ombudsperson Office, (May 5, 2023),
https://downloads.regulations.gov/CFPB-2023-0021-0003/attachment_1.pdf.
8 Consumer Financial Protection Bureau, CFPB Orders Equifax to Pay $15 Million for Improper

Investigations      of      Credit       Reporting        Errors    (Jan.    17,      2025),
https://www.consumerfinance.gov/about-us/newsroom/cfpb-orders-equifax-to-pay-15-million-
for-improper-investigations-of-credit-reporting-errors/.
9 Press Release, Consumer Financial Protection Bureau, CFPB Finds Credit Report Disputes Far

More Common in Majority Black and Hispanic Neighborhoods (Nov. 2, 2021),
https://www.consumerfinance.gov/about-us/newsroom/cfpb-finds-credit-report-disputes-far-
more-common-in-majority-black-and-hispanic-neighborhoods/.
                                                6
      Case 1:25-cv-00381-ABJ           Document 33       Filed 02/25/25      Page 12 of 17




common names. Tzedek DC relies on and shares Spanish materials with its Hispanic clients in its

direct legal and financial counseling services.

        The CFPB also provides sample credit reporting dispute letters that Tzedek DC gives to

clients.10 These letters are a convenient way to contest inaccurate credit reporting without needing

to understand the workings of CRAs or the laws and regulations that govern them. This is vital,

because credit reporting errors are both frequent and expensive to consumers. 11 Like with the rest

of Tzedek DC’s direct services, the CFPB’s work until the recent attempted shutdown has made a

big difference in making those services more effective and, in some instances, possible at all.

II.    CFPB Research and Rulemaking Support Tzedek DC Clients.

       The CFPB has conducted research and implemented rules that support Tzedek DC’s clients

and the low- and moderate-income community that Tzedek DC serves.

       The CFPB provides a vital forum for discussing problems facing consumers. Tzedek DC

has participated in CFPB stakeholder meetings on issues such as medical debt, lending practices

for Assistive Technology, and employment and tenant screenings. These sessions helped Tzedek

to understand the scope and frequency of clients’ problems and advocate for solutions.

       Tzedek DC also benefited from the opportunity to give input on and learn from the CFPB’s

understanding of the widespread nature of medical debt and the problems it poses for consumer

patients. Research conducted by the CFPB further found that medical debt—which is often out of




10 Consumer Financial Protection Bureau, Sample Letters to Dispute Information on a Credit

Report,      https://www.consumerfinance.gov/consumer-tools/credit-reports-and-scores/sample-
letters-dispute-credit-report-information/ (last visited Feb. 20, 2025).
11 Lisa L. Gill, “More Than a Quarter of People Find Serious Mistakes in Their Credit Reports,

Study          Shows,”           Consumer            Reports         (Apr.     30,        2024),
https://www.consumerreports.org/money/credit-scores-reports/serious-mistakes-found-in-credit-
reports-a1061511185/ (noting mistake that dropped one credit score from 800 to 500, which would
make a typical mortgage cost an extra $150,000 over the life of the loan).
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      Case 1:25-cv-00381-ABJ           Document 33         Filed 02/25/25      Page 13 of 17




patients’ control—is a poor predictor of a consumer’s credit worthiness.12 The CFPB accordingly

finalized a regulation banning the inclusion of medical debt on credit reports used by lenders and

prohibiting lenders from considering medical debt when making lending decisions. Through the

notice and comment process, Tzedek DC provided further information and support about the extent

of concerns created by medical debt on credit reports for its clients. While that regulation is

currently subject to a court-ordered stay, it will, if operative, be very helpful to Tzedek DC’s client

community by enabling consumers with medical debt to qualify for loans without being hindered

by debt that is not reflective of borrowing histories.13

       Tzedek DC has submitted at least ten APA notice and comment-process comments to the

CFPB, including on topics such as tenant background screening, information furnishing under the

Fair Credit Reporting Act, and coverage of nonbank financial institutions. Tzedek DC has also co-

submitted more than 20 letters to the CFPB, including on topics related to credit card late fees,

paycheck advance products, and information related to human trafficking on credit reports. Tzedek

DC has collaborated with more than 300 organizations from throughout the United States on these

comments and sign-on letters. These moves by the CFPB represent important clarifications that

put companies on notice of their obligations and protect consumers.

       Residents of the District of Columbia—the jurisdiction of this case—will be uniquely

harmed if Tzedek DC and other organizations cannot bring consumer-related issues to the CFPB.

District residents have no members of the House or Senate with a right to vote in Congress who



12 Consumer Financial Protection Bureau, CFPB Finalizes Rule to Remove Medical Bills from

Credit Reports (Jan. 7, 2025), https://www.consumerfinance.gov/about-us/newsroom/cfpb-
finalizes-rule-to-remove-medical-bills-from-credit-reports/.
13 Tzedek DC has separately sought to intervene as a defendant in that case to defend the CFPB’s

final rule, Prohibition on Creditors and Consumer Reporting Agencies Concerning Medical
Information (Regulation V). Mot. to Intervene as Defendants, D.I. 23 in ACA Int’l v. CFPB, No.
4:25-CV-00094 (S.D. Tex.).
                                                  8
       Case 1:25-cv-00381-ABJ          Document 33       Filed 02/25/25     Page 14 of 17




they can contact when they encounter problems, and thus have more limited means of asking for

help from the federal government. They can seek help from the Council of the District of Columbia,

the DC Office of Attorney General, or the DC Metropolitan Police Department, all of which have

a local jurisdiction. The national—and even international—nature of many consumer issues,

particularly financial scams, leaves DC consumer enforcement alone insufficiently equipped to

address many of the District’s pressing consumer problems. The CFPB fills much of that gap now,

and its absence would be keenly felt in the District.

III.   CFPB Resources and Materials Support Tzedek DC Clients and Community
       Members.

       A.      Tzedek DC’s Use of CFPB Trainings and Materials Supports the Public
               Interest.

       Tzedek DC relies on CFPB informational materials, lesson plans, and activities to prepare

presentations to community members helping to inform its clients and community members of

legal rights and steps toward achieving financial goals. For example, over the last 2 years at over

100 community events, Tzedek DC has shared critical tools such as the CFPB’s “Your Money,

Your Goals” toolkits, information about how to rebuild credit, know-your-rights resources for

when a debt collector calls, the CFPB Financial Wellness Survey, or other CFPB materials. 14

Tzedek DC also uses CFPB reports on scams, fraud, and predatory lending to write newsletters for




14   See, e.g., Consumer Financial Protection Bureau, Your Money, Your Goals,
https://www.consumerfinance.gov/consumer-tools/educator-tools/your-money-your-goals/ (last
visited Feb. 20, 2025); CONSUMER FINANCIAL PROTECTION BUREAU, HOW TO REBUILD YOUR
CREDIT (July 2020), https://files.consumerfinance.gov/f/documents/cfpb_how-to-rebuild-your-
credit.pdf; CONSUMER FINANCIAL PROTECTION BUREAU, KNOW YOUR RIGHTS WHEN A DEBT
COLLECTOR CALLS (Mar. 2022), https://files.consumerfinance.gov/f/documents/cfpb_adult-fin-
ed_know-your-rights-when-a-debt-collector-calls.pdf; Consumer Financial Protection Bureau,
Find      out    your    financial    well-being    (last   visited   Feb.   20,     2025),
https://www.consumerfinance.gov/consumer-tools/financial-well-being/.
                                                 9
      Case 1:25-cv-00381-ABJ            Document 33        Filed 02/25/25       Page 15 of 17




its clients and community members. Without these CFPB reports, Tzedek DC would be less aware

of national and emerging trends and therefore unable to fully offer advice on these topics.

        The CFPB has also trained Tzedek DC staff on check fraud, debt settlement companies and

credit repair, financial exploitation of seniors, setting financial goals, and financial issues relevant

to citizens returning from incarceration. This CFPB support helps Tzedek DC staff stay up to date

on consumer law topics to better represent clients. Without these trainings, Tzedek DC would be

less prepared to represent clients or arm community members with needed information.

        B.      Without the CFPB’s Tailored Materials, Tzedek DC’s Ability to Support
                Underserved Communities Will be Harmed.

        The CFPB community-tailored materials including translated materials, and supplements

developed for returning citizens, veterans, Native Americans, and disabled people, are integral to

Tzedek DC’s ability to serve these communities. These products, which recognize the unique

challenges faced by individuals from these diverse backgrounds, are vital for Tzedek DC’s clients.

Tzedek DC also serves low- and moderate-income DC veterans, who are particularly vulnerable

to fraud and scams.15 Without access to trusted, targeted, and translated materials, Tzedek DC

would not be able to serve these underserved communities as easily, and would be required to

expend resources to develop new materials or turn community members away.

        C.      The CFPB Allows Tzedek DC to Offer Information to Residents Ineligible
                for Tzedek DC Legal Assistance.

        Like all free legal service providers in the District of Columbia, Tzedek DC cannot

represent all applicants for assistance. Supra at 1 (income eligibility limits). The District has a

large amount of unmet legal need, with many applicants for free legal services unable to find


15 Melissa Chan, “Democratic lawmakers warn axing Consumer Financial Protection Bureau will

leave troops vulnerable to fraud and scams,” NBC News (Feb. 20, 2025),
https://www.nbcnews.com/news/us-news/democratic-lawmakers-warn-axing-consumer-
financial-protection-bureau-w-rcna192848.
                                                  10
      Case 1:25-cv-00381-ABJ           Document 33        Filed 02/25/25     Page 16 of 17




counsel despite having meritorious claims or defenses and unable to afford a private attorney. The

CFPB helps close this gap with its complaint portal, template letters, and self-help guides.

       District of Columbia residents have made complaints to the CFPB more per capita than all

but two states in the nation.16 Tzedek DC has referred clients to the CFPB on at least 30 recent

occasions, for example when the CFPB has superior expertise on an issue or when its enforcement

powers are more likely to resolve the matter. Making a CFPB complaint does not require legal

counsel. The CFPB allows consumers of all incomes to report unfair, deceptive, and otherwise

illegal actions in consumer markets to an agency that will give their problem an expert review,

often leading to a resolution in the consumer’s favor.

       Tzedek DC often provides community members facing harassment or unrecognized debts

with the CFPB “debt validation” and “no contact” letter templates. 17 These templates are current,

trusted, and include clear directions. Without these letters, Tzedek DC attorneys would be unable

to offer any assistance to community members who are ineligible for services.

       Tzedek DC gives residents ineligible for services CFPB publications that explain how to

negotiate favorable resolutions with debt collectors, open bank and credit union accounts, create a

budget for their personal finances, and more. Providing these publications to residents—as well as

clients and others—saves Tzedek DC staff the time that it would take to explain the issues at hand

and allows staff to instead focus on other client matters. The CFPB’s printing and mailing these

resources to nonprofits as brochures is particularly helpful, because some of Tzedek DC’s

prospective clients lack the technology to access digital materials.



16 Consumer Financial Protection Bureau, Consumer Complaint Database at Map tab (last visited

Feb. 20, 2025), https://www.consumerfinance.gov/data-research/consumer-complaints/search/.
17 Consumer Financial Protection Bureau, What Should I Do When a Debt Collector Contacts Me?

(last visited Feb. 21, 2025), https://www.consumerfinance.gov/ask-cfpb/what-should-i-do-when-
a-debt-collector-contacts-me-en-1695/.
                                                 11
      Case 1:25-cv-00381-ABJ          Document 33       Filed 02/25/25     Page 17 of 17




        With the introduction of artificial intelligence, increased use of algorithms in important

decisions affecting consumers, and the ever-growing inventiveness of scammers and fraudsters,

the need for the CFPB’s continued guidance and resources, if not leadership, is greater than ever.

Conversely, the shutdown of all or most of the CFPB will cause massive harms to the public,

Tzedek DC, and people with low and moderate incomes that Tzedek DC serves.

                                        CONCLUSION

       For these reasons, and those detailed by the Plaintiffs, the motion for a preliminary

injunction should be granted.


Dated: February 21, 2025                            Respectfully Submitted,

 /s/ Ariel Levinson Waldman                                /s/ William Pittard
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                                               12
